Case 4:16-cv-00547-ALM          Document 218       Filed 11/21/24      Page 1 of 7 PageID #: 1950




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

   UNITED STATES OF AMERICA, ex rel. STF, LLC,

                   Plaintiff,

           v.
                                                              Civil Action No. 4:16-cv-547-ALM
   TRUE HEALTH DIAGNOSTICS, LLC, et al.,

                   Defendants.

            DEFENDANTS SUSAN HERTZBERG, MATTHEW THEILER, AND
             THOMAS GRAY HARDAWAY’S REPLY IN SUPPORT OF THE
                 MOTION FOR A STAY OF CIVIL PROCEEDINGS

        Staying this proceeding will prevent substantial prejudice to the rights of Defendants Susan

 Hertzberg, Matthew Theiler, and Thomas Gray Hardaway (the “Appealing Defendants”). It will

 also promote substantial efficiencies for the court and litigants, and advance the public interest in

 protecting the constitutional rights of criminal defendants. All of that will be accomplished through

 a modest stay that only lasts through the pendency of criminal actions and does not meaningfully

 prejudice the government, which has already conducted an extensive investigation and deferred

 the pursuit of this case for more than eight years. In short, weighing all of the factors that Fifth

 Circuit courts consider in determining whether to stay civil litigation during a parallel criminal

 case requires pausing this proceeding. Nothing in the United States’ Opposition (the “Response”)

 alters that conclusion or rebuts the substantial prejudice outlined in the Appealing Defendants’

 Motion to Stay. Dkt. 216.

        First, the Response only confirms that the factors evaluated by Fifth Circuit courts weigh

 heavily in favor of a stay. Second, the government argues that forcing defendants to invoke the

 Fifth Amendment in response to questions during the civil case preserves their Fifth Amendment

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Case 4:16-cv-00547-ALM         Document 218         Filed 11/21/24      Page 2 of 7 PageID #: 1951




 rights. But requiring the Appealing Defendants to selectively invoke their Fifth Amendment rights

 would effectively deny their ability to mount a defense and therefore supports a stay. Third, the

 Response claims the Appealing Defendants request an indefinite and total stay of civil proceedings

 (this “Civil Action”). That is not true. The Appealing Defendants request a stay only through the

 pendency of the Appealing Defendants’ criminal cases. The Appealing Defendants are also open

 to a partial stay that sufficiently protects their rights, though judicial economy is better served by

 staying the proceeding as to all defendants and all claims.

        A.      The Fifth Circuit’s Multi-Factor Test Favors a Stay

        The five factors that Fifth Circuit courts consider must be evaluated in their totality.

 However, as demonstrated in the Appealing Defendants’ Motion, each factor favors the stay of

 this case. First and most important, facts in the civil and criminal cases overlap significantly and

 directly. See Bean v. Alcorta, 220 F.Supp.3d 772 (W.D. Tex. 2016). The government concedes

 that point and also concedes that an overlap weighs in favor of a stay if: (1) the defendant cannot

 protect himself in the Civil Action by selectively invoking his Fifth Amendment privilege; or (2)

 “effective defense of both the criminal and civil cases is impossible.” See N.H. v. Castilleja, 2023

 WL 149989, at 3 (E.D. Tex. Jan. 10, 2023); see also Dkt. 216 at 9. Both circumstances are true in

 this case. The Appealing Defendants were criminally charged with a conspiracy to violate the Anti-

 Kickback Statute (“AKS”). The False Claims Act violations in this Civil Action are premised on

 overlapping allegations. The fact that there exist counts based on other (contested) allegations, see

 Response at 14, does not change the fact that the defendants must defend against allegations at

 issue in the criminal proceeding and cannot do so while the criminal cases are active.

        The government next argues that it will be prejudiced by the loss of evidence. More

 specifically, the government complains that witnesses’ memories will fade and documents in their

                                                   2
Case 4:16-cv-00547-ALM          Document 218        Filed 11/21/24       Page 3 of 7 PageID #: 1952




 possession will be lost or destroyed. That argument strains credulity and should be disregarded.

 As the Appealing Defendants have previously explained, the government has already interviewed

 scores of witnesses and collected millions of documents. The government has no response. Indeed,

 the government does not identify any specific documents at risk, or any witnesses that it has not

 previously interviewed. 1 Because the government’s asserted prejudice is purely theoretical, and it

 has already conducted a six-year investigation into the facts underlying this proceeding, there is

 no meaningful prejudice.

        The government also argues that judicial economy favors lifting the stay. Not so. The

 government emphasizes that “selective invocation” of the Fifth Amendment could mitigate

 prejudice to the Appealing Defendants. But disputes associated with selective invocation and the

 inevitable requests for adverse inferences will infect this case from beginning to end. 2 Further,

 other defendants will likely argue that they are harmed by such inferences, if granted. Strangely,

 the government states that a criminal acquittal would not have preclusive effect in this case. But

 that misunderstands the Motion to Stay, which argues that any attempt by the government to




 1
   The government notes that two witnesses have passed away during the pendency of this case.
 But those witnesses passed away while this case was stayed with the government’s agreement.
 There is no reason to think additional witnesses would pass away during the modest length of a
 stay pending criminal appeals.
 2
   Each Moving Defendant reserves the right to dispute application of any adverse inference. See,
 e.g. Doe ex rel. Rudy-Glanzer v. Glanzer, 232 F.3d 1258, 1264 (9th Cir. 2000) (“The Baxter
 holding is not a blanket rule that allows adverse inferences to be drawn from invocations of the
 privilege against self-incrimination under all circumstances in the civil context.”); S.E.C. v.
 Graystone Nash, Inc., 25 F.3d 187, 193–94 (3d Cir. 1994) (“Courts must bear in mind that when
 the government is a party in a civil case and also controls the decision as to whether criminal
 proceedings will be initiated, special consideration must be given to the plight of the party asserting
 the Fifth Amendment.”). Apparent disputes about the effect of invoking Fifth Amendment rights
 only illustrate that a modest stay will promote judicial economy and efficient litigation.
                                                   3
Case 4:16-cv-00547-ALM           Document 218        Filed 11/21/24       Page 4 of 7 PageID #: 1953




 litigate preclusion before criminal convictions are final risks significant inefficiency and also risks

 creating multiple difficulties for this case. 3

         B.      Selective Invocation of the Fifth Amendment Will Not Cure Substantial
                 Prejudice to the Appealing Plaintiffs

         The government spends much of the Response arguing that the Appealing Defendants can

 invoke the Fifth Amendment should this case proceed. That is true but beside the point. The

 question is whether the Appealing Defendants will be able to defend themselves if this case

 proceeds while their criminal proceedings are pending. Under these circumstances, they cannot.

 The government acknowledges that “there is substantial overlap between the conduct for which

 the Moving Defendants were convicted in the criminal case and the MSO kickback allegations in

 this case.” 4 Dkt. 216, at 9. If forced to invoke the Fifth Amendment during the pendency of their

 criminal cases, the Appealing Defendants will be unable to present an effective defense to the Civil

 Action. And the Appealing Defendants will be prejudiced even further if the government seeks

 and the court grants an adverse inference after such a forced invocation. 5 See United States v.




 3
   The government cites two cases where courts have denied motions to stay pending the resolution
 of related criminal appeals. Dkt. 216, at 12. Both are inapplicable California cases and
 distinguishable here. In Doe v. City of San Diego, No. 12-CV-689-MMA-DHB, 2012 WL
 6115663, at *3 (S.D. Cal. Dec. 10, 2012), the court denied a motion to stay a civil case involving
 the sexual assault of a female by a male police officer. Plaintiff asserted “she and some of her
 witnesses are frightened of retribution from law enforcement personnel and misguided members
 of the public . . . her life, career goals and dreams are on hold until the resolution of this case.” Id.
 In Sec. & Exch. Comm’n v. Braslau, No. 14-01290-ODW, 2015 WL 9591482, at *3 (C.D. Cal.
 Dec. 29, 2015), the Judge presiding over Braslau’s criminal trial noted that his appeal does not
 raise any “substantial question of law or fact likely to result in reversal [or] an order for a new
 trial.” No such factors exist or are relevant here.
 4
   As set forth in their Motion, the Appealing Defendants will dispute any assertion that their
 criminal convictions have a preclusive effect on the civil claims. See Motion at 6 n.2.
 5
  For reasons explained above, each Moving Defendant reserves the right to dispute application of
 any adverse inference. See supra n.3.
                                                    4
Case 4:16-cv-00547-ALM         Document 218         Filed 11/21/24         Page 5 of 7 PageID #: 1954




 White, 589 F.2d 1283, 1286 (5th Cir. 1979) (acknowledging that by remaining silent the defendant

 “may have been denied his most effective defense”). Thus, the risk of irreparable prejudice to the

 Appealing Defendants greatly outweighs any prejudice the government might experience from the

 modest stay requested.

        In any event, Fifth Circuit courts resolve motions like this one based on a multi-factor

 balancing test and the particular circumstances of each case. Here, weighing all operative factors

 supports a stay. See Motion at 3-10. In other words, even if the burden on the Appealing

 Defendants’ ability to mount their defense were not sufficient to support the stay (it is), any

 weighing of all pertinent factors requires entry of the requested stay.

        C.      A Partial Stay May be Acceptable

        The Appealing Defendants do not oppose a partial stay of the Civil Action. The Appealing

 Defendants would be amenable to the government’s efforts to proceed against the non-appealing

 Defendants, to the extent the government can do so without prejudicing the right of the Appealing

 Defendants to vigorously defend the Civil Action. However, the interest of judicial economy is

 best served by a full stay of this proceeding.

                                           CONCLUSION

        Each of the factors a court considers when deciding whether to grant a stay of a civil case

 weighs in favor of staying the present Civil Action. Given this Court’s wide discretion to order a

 stay given the circumstances of the Appealing Defendants’ ongoing criminal cases and meritorious

 appeals, a stay of the Civil Action is warranted. Therefore, to the extent this Court determines that

 the existing civil stay has expired, the Appealing Defendants respectfully request that the Court

 enter a new stay of the Civil Action.



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Case 4:16-cv-00547-ALM       Document 218   Filed 11/21/24    Page 6 of 7 PageID #: 1955




 Dated: November 21, 2024,              Respectfully submitted,

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                                            6
Case 4:16-cv-00547-ALM         Document 218      Filed 11/21/24     Page 7 of 7 PageID #: 1956




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                                CERTIFICATE OF SERVICE

        I certify that all counsel of record who have consented to electronic service were served

 with a true and correct copy of the foregoing document via the Court’s CM/ECF system on this

 21st day of November, 2024.

                                             /s/ Gene R. Besen
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